               Case 23-11469-BLS             Doc 505-4        Filed 11/30/23        Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                            Chapter 11
AMERICIAN PHYSICIAN PARTNERS,
LLC, et al., 1
                                                            Case No. 23-11469 (BLS)
Debtor
                                                            (Jointly Administered)
                                                            Hearing Date: December 14, 2023 at 10 a.m.



                                          NOTICE OF MOTION

         PLEASE TAKE NOTICE that on November 30, 2023, Samuel Weeks (“Movant”) filed

his Motion of Samuel Weeks for Relief from Stay under Section 362 of the Bankruptcy Code

pursuant to 11 U.S.C 362(d) (the “Motion”) with the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion, if

required, will be scheduled before the Honorable Brendan L. Shannon at the Bankruptcy Court,

6th Floor, Courtroom 1, on December 14, 2023 at 10:00 a.m.

         PLEASE TAKE FURTHER NOTICE that you are required to file a response (and

supporting documentation required by Local Rule 4001-1(c)) to the attached motion at least

seven days before the above hearing date.

         At the same time, you must also serve a copy of the response upon movant’s attorney:

         David J. Ward
         735 Broad Street, Suite 406
         Chattanooga, TN 37402
         David@michelandward.com

1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https;//dm.epiq11.com/American PhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and Debtor’s service address in these Chapter 11
Cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.

                                                        1
             Case 23-11469-BLS         Doc 505-4      Filed 11/30/23     Page 2 of 4




       423-602-9523

       The hearing date specified above may be a preliminary hearing or may be consolidated

with the final hearing, as determined by the Court.

       The attorneys for the parties shall confer with respect to the issues raised by the motion in

advance for the purpose of determining whether a consent judgment may be entered and/or for

the purpose of stipulating to relevant facts such as value of the property, and the extent and

validity of any security agreement.

       PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTION OR OTHER

RESPONSES TO THE MOTION IS TIMELY FILED IN ACCORDANCE WITH THE

PROCEDURES SET FORTH ABOVE, THE BANKRUPTCY COURT MAY ENTER AN

ORDER GRANTING THE RELEIF SOUGHT IN THE MOTION WITHOUGHT

FURTHER NOTICE OR A HEARING.

Dated: November 30, 2023                     MICHEL & WARD, PC


                                             _/s/ David J. Ward_
                                                    Alix C. Michel (BPR No. 024243)
                                                    David J. Ward (BPR No. 013449)
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                                             735 Broad Street
                                             Chattanooga, TN 37402
                                             (423) 602-9521
                                             (423) 602-9524 (fax)
                                             Attorneys for Samuel Weeks




                                                 2
             Case 23-11469-BLS         Doc 505-4      Filed 11/30/23     Page 3 of 4




                                 CERTIFICATE OF SERVICE
        I, David J. Ward, hereby certify that on the 30th day of November 2023, a copy of the
foregoing Motion of Samuel Weeks for Relief from Stay under Section 362 of the Bankruptcy
Code was electronically filed and served via CM/ECF on all parties requesting electronic
notification in this case in accordance with Del. Bankr. L.R. 9036-(b) and on the parties listed
below via Electronic Mail.


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                                                 3
           Case 23-11469-BLS   Doc 505-4   Filed 11/30/23   Page 4 of 4




November 30, 2023                          /s/   David J. Ward
     Date                                          David J. Ward




                                      4
